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                                           UNITED STATES DISTRICT COURT
                                          CENTRAL DISTRICT OF CALIFORNIA
                                               CRIMINAL MINUTES - GENERAL




 Case No.          CR 20-00322-ODW                                                              Date    February 2, 2022


 Present: The Honorable          OTIS D. WRIGHT II, UNITED STATES DISTRICT JUDGE

 Interpreter

                Sheila English                            N/A                                              N/A
                Deputy Clerk                     Court Reporter/Recorder                         Assistant U.S. Attorney



                U.S.A. v. Defendant(s):           Present Cust. Bond           Attorneys for Defendants:         Present App. Ret.

Ramon Olorunwa Abbas                                Not     X              Louis J Shapiro                           Not              X



 Proceedings:        MINUTES (IN CHAMBERS)

      AT THE REQUEST OF COUNSEL, the Sentencing is continued to July 11, 2022 at
11:00 a.m




IT IS SO ORDERED.




                                                                                                                 :         00

                                                                     Initials of Deputy Clerk              se




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